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Deb'f@l”l Amanda J. Galindo
First Narne ivlir.ldle Name Last Narne
l easter 2
(Spouse if, tiling) First Name Nliddle Name Last Name

 

 

 

Case number
('ri known)

 

|:l Check ifthis is an

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United States Bankruptcy Court for the: DlSTR|CT OF NEW NlEX|CO
amended filing

 

Official Form 108
Statement of lntention for individuals Filing Under Chapter 7 wis

if you are an individual filing under chapter 7, you must till out this form if:
- creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,

whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

lf two married people are filing together in a joint case, both are equally responsible for suppiying correct information Both debtors must
sign and date the form.

Be as complete and accurate as possible if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Credito'rs Who Have Secured Claims

1. For any creditors that you listed in Part 1 ofSchedule D: Creditors Who Have C|aims Secured by Property (Officia| Form 106D), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
CreditOF`S Nl!'. COOper' |:l Surrender the property. |:| No
name: l:l Retain the property and redeem it.
§ Retain the property and enter into a n YBS

DBSCFiPthn Of 723 Stetson Dr. SW

property A|buquerque, NN[ 87121

Securing debt Bernalillo County
Value per realtor.com

Reariirmatr'on Agreement.
|3 Retain the property and [e><plain]:

 

 

 

 

Credl'cor'$ Rio Grande Credit Union l:| Surrendertbe property l NO
name: l:l Retain the property and redeem lt.
_ _ l:l Retain the property and enter into a |:| Yes
D@SCF|DT|OH Of 2013 Chevrolet lmpala 97,000 Reaffirmation Agreement.
PFOPEFW T'|@S d_t_ § Retain the property and [explaini:
Securin debt verage con z lon per _ _
g edmunds_com (the Vehicle is NFS has this vehicle and makes the
solely in the NFS's name) Paym@l'lt$
Credit€>r'$ Rio Grande Credit Union l:l Surrenderthe property § No
namet 47 |:.l Retain the property and redeem it.
l:l Retain the property and enter into a l:l Yes
DeSCripfl`Orl Of 2014 Hyundai Accent 75,000 Reaffinnatr‘on Agreemer)r.
Ochial Fon'n 108 Staternent of intention for individuals Fi|ing Under Chapter 7 page ‘l
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D@biOF 1 Amanda J. Gaiindo Case number (irknown)

 

property miles _ _ § Retaln the property and [exp|ain]:
Securing debt Average condition per _ l
edmunds~com (the Vehic|e is Debtor has this vehic£e but the NFS
soier in the NFS‘s name) makes the Payment$

 

 

 

`. List ¥our Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Officiai Form 1066), fiEE
in the information beiow. Do not list real estate |eases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?
L.essor's name: ' |:i NO
Description of leased

Property: L__l Yes
Lessor's name: |:_i NO
Description of leased

Property'. m yes
Lessor's name: |:| NO
Description of leased

Property: i:i Yes
Lessor‘s name: l:i No
Description of leased

Property: |___| Yes
Lessor‘s name: |:_| NO
Description of leased

Property.' |:i Yes
Lessor's name: |:| NO
Description of leased

Property: |:| Ye$
Lessor's name: i:| No
Descri'ption of leased

Property: [:] Yes

 

Sign Below

Under penalty of perjury, l declare thatl have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease_

X lsi Amanda J. Gaiindo ` X
Amanda J. Galindo
Signature of Debtor‘l

 

 

Signature of Debtor 2

 

 

Daf€ December 13, 2018 Date
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